Case 1:20-cv-01038-LMB-JFA Document 20 Filed 02/22/21 Page 1 of 5 PageID# 177




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division


    ALI ABDALLA HAMZA, et al.

                  Plaintiffs,
                                               Case No: 1:20-cv-01038 (LMB/JFA)
    v.

    KHALIFA HIFTER,

                  Defendant.

    DEFENDANT’S REPLY TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                    MOTION TO SET ASIDE DEFAULT

         Plaintiffs’ Memorandum in Opposition to Motion to Set Aside Default

(“Opposition,” Dkt. 19) focuses heavily on Plaintiffs’ counsel’s communications with

Mr. Hifter’s previous counsel. Current counsel cannot speak to what former counsel

did or did not say to their then-client.1 What is clear from the record, however, is that

Mr. Hifter was unrepresented for a time and is also in Libya in the midst of a civil

war. As soon as present counsel was engaged in this matter, actions were taken to

set aside default and to request filing a responsive pleading by February 26, 2021

(this Friday). Current counsel understands the rigors of this Court and will continue

to act promptly in this matter, including presenting his meritorious defenses which

will have to be tried should the case not be dismissed.




1
 It should be noted that the related actions to this matter were stayed by the Court
for 60 days on September 29, 2020. Al-Suyid, et al., v. Hifter, et al., 1:20-cv-00170,
Dkt. 52; Elzagally, et al. v. Hifter, et al., 1:19-cv-00853, Dkt. 43.

                                           1
Case 1:20-cv-01038-LMB-JFA Document 20 Filed 02/22/21 Page 2 of 5 PageID# 178




       Mr. Hifter was never properly served in this matter. When Mr. Hifter became

aware of the default, he hired counsel, who acted promptly. Plaintiffs do not explain

why this Court should accept that their Complaint was properly served when it was

placed on a residence that is not Mr. Hifter’s usual place of abode (indeed, it is known

to Plaintiffs that he resides in Libya).2 Mr. Hifter maintains that service was not

proper in this matter and therefore default judgment should not be entered against

him.

       The cases on which Plaintiffs rely only bolster Mr. Hifter’s argument that the

default should be set aside. The first, Augusta Fiberglass Coatings, Inc. v. Fodor

Contracting Corp., was a breach of contract action in a different procedural posture

as a final judgment had been entered against the appellant and therefore Rule 60(b)

was at issue. That Court noted “[w]here defaults and judgments thereon are at issue,

Rule 60(b) must be read with due regard for Rule 55(c)…where default judgments are

at issue, over the years this court has taken an increasingly liberal view of Rule 60(b)

which indicates that a reversal is warranted under the present circumstances.” 843

F.2d 808, 810 (4th Cir. 1988). Thereafter, the Court reversed the trial court’s default

judgment. Id. at 813. This decision was largely regarding attorney error. Again,

present counsel cannot speak to what former counsel did or did not say to their then-

client. What is known is that this case has not reached final judgment (or even a



2
 Plaintiffs do address that Magistrate Judge Anderson recommended finding that
Mr. Hifter was properly served in another matter; however, that matter was in a
different posture than this matter – Mr. Hifter had not yet appeared. Notably, this
Court did not accept Judge Anderson’s recommendation and set aside that default.
Al-Suyid, et al., v. Hifter, et al., 1:20-cv-00170, Dkt. 42.

                                           2
Case 1:20-cv-01038-LMB-JFA Document 20 Filed 02/22/21 Page 3 of 5 PageID# 179




Report or Recommendation) and present counsel has been retained to defend this

case should it not be dismissed.

       The second case was also a breach of contract action. Town and Country Kids,

Inc. v. Protected Venture Investment Trust, 178 F.R.D. 453 (E.D. Va. 1998). In that

matter, the defendants had never appeared, and a Report and Recommendation had

been written by the Magistrate Judge. Id. at 454. Notably, the entry of judgment was

for $55,000.00. Id. at 455. Here, the relief requested by Plaintiffs is $130.5 million.

This case is far more complicated than a breach of contract action. Moreover, as stated

above, a Report and Recommendation has not yet been entered and counsel has

appeared and said on the record that responsive pleadings will be filed by February

26, 2021. In neither of the cases relied on by Plaintiffs was the service of the complaint

at issue.

       Plaintiffs also rely on Augusta Fiberglass to argue that Mr. Hifter should

proffer evidence in support of his meritorious defenses. Dkt. 19 at 7 (citing Augusta

Fiberglass, 843 F.2 at 812). This is, however, not a breach of contract case wherein

evidence could be easily supplied to support a defense. Here, Plaintiffs allege brutal

acts of violence, including extrajudicial killing and torture. Any proffered evidence

will be complicated and will require a trial on the merits. Moreover, it should be noted

that in the other related matters in front of this Court, all claims except for the

Torture Victim Protection Act were dismissed by the Court.3 Therefore, it seems that




3
 Al-Suyid, et al., v. Hifter, et al., 1:20-cv-00170, Dkt. 52; Elzagally, et al. v. Hifter,
et al., 1:19-cv-00853, Dkt. 43.

                                             3
Case 1:20-cv-01038-LMB-JFA Document 20 Filed 02/22/21 Page 4 of 5 PageID# 180




without proffering evidence, Mr. Hifter has, at the very least, a meritorious defense

to all other claims involved in this action. Should the Court agree that Mr. Hifter

should provide evidence in order to set aside the default entered against him, he

requests additional time to provide such evidence.

      Finally, Plaintiffs request sanctions, in the alternative, in the amount of legal

fees and costs incurred with seeking Default Judgment, the forthcoming Motion for

Default Judgment, and the defense of this Motion. Dkt. 19 at 7-8. Given that Mr.

Hifter was never properly served in this matter, Plaintiffs’ request should be denied.

      For the foregoing reasons, the default entered against Mr. Hifter should be set

aside and he should be allowed to file his responsive pleading to Plaintiffs’ complaint

by February 26, 2021, which is merely a few days from today.



Dated: February 22, 2021                      Respectfully submitted,

                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall (VSB # 79292)
                                              HARVEY & BINNALL, PLLC
                                              717 King Street, Suite 300
                                              Alexandria, VA 22301
                                              Tel: (703) 888-1943
                                              Fax: (703) 888-1930
                                              jbinnall@harveybinnall.com

                                              Counsel for the Defendant




                                          4
Case 1:20-cv-01038-LMB-JFA Document 20 Filed 02/22/21 Page 5 of 5 PageID# 181




                             CERTIFICATE OF SERVICE

      I hereby certify that on this 22nd day of February 2021, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all counsel and parties of record.




                                                       /s/ Jesse R. Binnall
                                                       Jesse R. Binnall

                                                       Counsel for the Defendant




                                            5
